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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

 UNITED STATES OF AMERICA,
       v.                                           1:13-cr-00385-WSD-3
 GERARDO MILIAN NAGERA,
                    Defendant.


                             OPINION AND ORDER

      This matter is before the Court on Defendant Gerardo Milian Nagera’s

Motions to Appoint Counsel [166] [174].

      A defendant does not have a Sixth Amendment right to counsel in

connection with a Section 3582(c) motion. United States v. Webb, 565 F.3d 789,

793-95 (11th Cir. 2009). A defendant also does not have a statutory right to

counsel in connection with a Section 3582(c) motion. Courts have consistently

held that a Section 3582 proceeding is not an “ancillary matter” as set forth in

Section 3006A, and held that a defendant does not have a statutory right to counsel

in connection with a Section 3582(c) motion. See United States v. Whitebird, 55

F.3d 1007, 1010 (5th Cir. 1995) (defendant has no statutory right to counsel in

connection with a § 3582(c) motion because such a motion is not an “ancillary

matter” under § 3006A); United States v. Reddick, 53 F.3d 462, 464-65 (2d Cir.
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1995) (same); cf. Burrell v. United States, 332 A.2d 344, 347 (D.C. 1975)

(defendant has no statutory right to counsel in connection with motion to reduce

sentence under Rule 35(b)).

      While a court has the discretion to appoint counsel for a defendant in

connection with a Section 3582(c) motion, the court is not required to do so, given

the limited scope of proceedings under Section 3582(c). In this case, it is

undisputed that Defendant is not entitled to a reduction and the appointment of

counsel is not necessary.

      For the foregoing reasons,

      IT IS HEREBY ORDERED that Defendant Gerardo Milian Nagera’s

Motions to Appoint Counsel [166] [174] are DENIED.



      SO ORDERED this 6th day of September, 2016.




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